Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 1 of 9 PageID #:886




                      EXHIBIT C
     Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 2 of 9 PageID #:887




To : Paul Smoore Security Incident - Working Group [Paul =?utf-8?b??
U21vb3Jl5a6J5YWo5LqL5Lu2LSDlt6XkvZznvqQ=?=]; Dong Cheng <g739c18e>; Lucien Liu
<3475f511>; John Ding <152511013>; system message [=?utf-8?b?57O757uf5raI5oGv?=];
Kangchao Li <efbdb32f>; Joann Liu <6c89ebac>; Miley Chen <152930033>
Attachments : rsmf.zip

Dong Cheng <g739c18e>
2022-11-30T00:48:10.0000000Z
No, Paul, our handling is too soft

Dong Cheng <g739c18e>
2022-11-30T00:48:16.0000000Z
caused him to think that he was awesome

Dong Cheng <g739c18e>
2022-11-30T00:48:24.0000000Z
Designers on him a lot of mistakes

Dong Cheng <g739c18e>
2022-11-30T00:48:30.0000000Z
The lawyer did not emphasize

Dong Cheng <g739c18e>
2022-11-30T01:55:07.0000000Z
@Lucien Liu @John Ding to the UK

Dong Cheng <g739c18e>
2022-11-30T01:55:20.0000000Z
We reply to the questions from the media and post the forum stuff

Lucien Liu <3475f511>
2022-11-30T02:08:41.0000000Z
Video Chat Topic: Shenzhen-Jianxing Science and Technology BuildingB-1F-Northern
Hemisphere Northern Hemisphere(14).

John Ding <152511013>
2022-11-30T02:09:26.0000000Z
Come on~

John Ding <152511013>
2022-11-30T02:09:30.0000000Z
7F Greenland

John Ding <152511013>
2022-11-30T07:55:24.0000000Z
It seems that Paul Moore is still scratching the problem that our pictures are not
deleted for 24 hours, so let's study his log and delete it manually. Then push all
the logs of his account into the group to study what he is doing.
     Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 3 of 9 PageID #:888



John Ding <152511013>
2022-11-30T11:00:42.0000000Z
image

John Ding <152511013>
2022-11-30T11:00:49.0000000Z
[Message retracted, unable to view contents]

John Ding <152511013>
2022-11-30T11:00:53.0000000Z
This is the source

John Ding <152511013>
2022-11-30T11:01:10.0000000Z
Change this sentence, and there won't be so much to do

Dong Cheng <g739c18e>
2022-11-30T11:01:12.0000000Z
[covers face]

John Ding <152511013>
2022-11-30T11:01:18.0000000Z
It's really grass

Dong Cheng <g739c18e>
2022-11-30T11:01:23.0000000Z
Grass

Dong Cheng <g739c18e>
2022-11-30T11:03:53.0000000Z
This is the copy of the App

Dong Cheng <g739c18e>
2022-11-30T11:04:07.0000000Z
Let's change it

System messages
2022-11-30T11:04:16.0000000Z
Dong Cheng invited Kangchao Li to this chat. New members can see all chat history.

John Ding <152511013>
2022-11-30T11:05:23.0000000Z
I was going to quote what we have here to fight back, but I found that we did write
something wrong

John Ding <152511013>
2022-11-30T11:05:35.0000000Z
I'd like to write about it in a different way

Kangchao Li <efbdb32f>
     Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 4 of 9 PageID #:889



2022-11-30T11:12:40.0000000Z
What are you talking about

Dong Cheng <g739c18e>
2022-11-30T11:12:57.0000000Z
image

Dong Cheng <g739c18e>
2022-11-30T11:13:16.0000000Z
We currently have the ability to upload faces to the remote end

Dong Cheng <g739c18e>
2022-11-30T11:13:18.0000000Z
Cloud

Dong Cheng <g739c18e>
2022-11-30T11:13:23.0000000Z
[Message retracted, unable to view contents]

Dong Cheng <g739c18e>
2022-11-30T11:13:47.0000000Z
It may need to be changed

Kangchao Li <efbdb32f>
2022-11-30T11:15:23.0000000Z
Change it to something, give some context

Dong Cheng <g739c18e>
2022-11-30T11:15:58.0000000Z
Take the Local away, our dual-camera doorbell has uploaded faces to the cloud

System messages
2022-11-30T11:17:08.0000000Z
Kangchao Li invited Miley Chen, Joann Liu to this chat. New members can see all chat
history.

Kangchao Li <efbdb32f>
2022-11-30T11:18:06.0000000Z
@Joann Liu Tell us about how he thought about it at the time. There was a recent
security incident where an expert questioned our local storage

Dong Cheng <g739c18e>
2022-11-30T11:19:19.0000000Z
It's okay, let's just change it, so as not to catch people in the future, thank you

Kangchao Li <efbdb32f>
2022-11-30T11:20:03.0000000Z
What happened again? Not limited to thumbnails anymore?

John Ding <152511013>
     Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 5 of 9 PageID #:890



2022-11-30T11:20:18.0000000Z
Well, if you need to, I'll talk to Joann and Brother Chao about this tomorrow

John Ding <152511013>
2022-11-30T11:21:09.0000000Z
Well, in fact, this Paul has been asking about face recognition, saying that it is a
high-definition big picture, and then the media is also asking about this now, and
it is difficult to get this back ޺

John Ding <152511013>
2022-11-30T11:21:29.0000000Z
There's no rush tonight, we're still in a hurry

Kangchao Li <efbdb32f>
2022-11-30T11:22:48.0000000Z
Hurry up and change it.,There's an emergency version of this thing in the app
recently.,If you want it, hurry up and include it.

Kangchao Li <efbdb32f>
2022-11-30T11:24:09.0000000Z
It turned out to be a packed test tonight

John Ding <152511013>
2022-11-30T11:28:00.0000000Z
Okay, you can change the copy first and confirm with Alex

John Ding <152511013>
2022-11-30T11:28:09.0000000Z
I think there are quite a lot of similar wording that are being changed

Joann Liu <6c89ebac>
2022-11-30T11:44:02.0000000Z
@Kangchao Li This is a feature that allows the camera to form a list of high-quality
stranger faces taken in the last seven days, from which users can mark mature faces.
This face image actually exists in the cloud. At that time, we stored the base map
in the cloud, and the local storage features were used for identification. I don't
want to convey too much about the image transmission cloud. Just talk about the
local style.

Joann Liu <6c89ebac>
2022-11-30T11:45:02.0000000Z
If this is very sensitive, our new APP version will remove the word local

Kangchao Li <efbdb32f>
2022-11-30T11:47:36.0000000Z
@Miley Chen will follow up tonight, remove it, translate the multi-language first,
package it for testing, and then go through the formal translation when it's over

Miley Chen <152930033>
2022-11-30T11:48:13.0000000Z
     Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 6 of 9 PageID #:891



@Kangchao LiOkay, I'll take a look

Miley Chen <152930033>
2022-11-30T11:48:34.0000000Z
Just remove the word local?

John Ding <152511013>
2022-11-30T11:56:37.0000000Z
This policy should also be considered for updating

John Ding <152511013>
2022-11-30T11:58:20.0000000Z
I also want to ask, why did you upload to the cloud at that time, was it to buy
multiple doorbells and only record faces once?

Joann Liu <6c89ebac>
2022-11-30T11:59:51.0000000Z
In addition, there is another reason in my impression that the T8213+HB2 local space
cannot store 7 days of unmarked face cutouts

Dong Cheng <g739c18e>
2022-11-30T13:30:47.0000000Z
@John Ding A lot of people are asking for technical details these days, such as the
link in our last question that can be played by other players

Dong Cheng <g739c18e>
2022-11-30T13:30:58.0000000Z
Let's answer some questions in a targeted manner

Dong Cheng <g739c18e>
2022-11-30T13:31:08.0000000Z
Let me tell you, there is a problem with influencers

Dong Cheng <g739c18e>
2022-11-30T13:31:33.0000000Z
It's just that we need to make sure that we can say these statements

John Ding <152511013>
2022-11-30T13:32:32.0000000Z

- Links to videos are secure as they require a login and expires in 5 minutes.
- Eufy's products are a closed-loop ecosystem, we don't need to consider the
scenarios of sharing or connecting to third-party services, so there is no
authentication of the link after login. We think it is safe enough to do login
verification now.
- We are already working on completely blocking the scene where the link is shared
and played.
- And in fact, the vast majority of users only use mobile apps to view videos which
are using encrypted end-to-end(P2P) protocol, which do not have the concern above.
     Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 7 of 9 PageID #:892



John Ding <152511013>
2022-11-30T13:32:38.0000000Z
I've updated this section a bit

John Ding <152511013>
2022-11-30T13:32:41.0000000Z
It's more concise

Dong Cheng <g739c18e>
2022-11-30T13:32:48.0000000Z
Okay, can we send this to the influencer?

John Ding <152511013>
2022-11-30T13:32:49.0000000Z
The third one is whether you want to write it or not

Dong Cheng <g739c18e>
2022-11-30T13:33:02.0000000Z
I'll just send 124

John Ding <152511013>
2022-11-30T13:33:40.0000000Z

- Links to videos are secure as they require a login and expire in 5 minutes.
- Eufy's products are a closed-loop ecosystem, we don't need to consider the
scenarios of sharing or connecting to third-party services, so there is no
authentication of the link after login. We think it is safe enough to do login
verification now.
- And the vast majority of users only use mobile apps to view videos which are using
encrypted end-to-end(P2P) protocol, which do not have the concern above.

John Ding <152511013>
2022-11-30T13:33:48.0000000Z
Help review the wording

Dong Cheng <g739c18e>
2022-11-30T13:38:11.0000000Z
[Message retracted, unable to view contents]

Dong Cheng <g739c18e>
2022-11-30T13:39:37.0000000Z
[Message retracted, unable to view contents]

Dong Cheng <g739c18e>
2022-11-30T13:40:17.0000000Z
- Links to videos are secure as they require user's login in web portal browser
developer mode and expire in 5 minutes.
- Eufy's products are a closed-loop ecosystem, there is no need to consider the
scenario of sharing to third-party services with presigned link, no authentication
needed for the presinged link after login. We think it is safe enough.
     Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 8 of 9 PageID #:893



- the vast majority of users only use mobile apps to view videos which are using
encrypted end-to-end(P2P) protocol, which do not have the concern above.

Dong Cheng <g739c18e>
2022-11-30T13:40:24.0000000Z
Changed it slightly

Dong Cheng <g739c18e>
2022-11-30T13:45:03.0000000Z
If public opinion continues to ferment

Dong Cheng <g739c18e>
2022-11-30T13:45:19.0000000Z
We may want to consider posting responses to these technical questions one by one

Dong Cheng <g739c18e>
2022-11-30T13:45:24.0000000Z
Hopefully it doesn't get to that point

Dong Cheng <g739c18e>
2022-11-30T13:45:42.0000000Z
We'll keep an eye on it

John Ding <152511013>
2022-11-30T13:49:50.0000000Z
@Dong Cheng I feel that 3 can still be considered to be added

John Ding <152511013>
2022-11-30T13:54:30.0000000Z
- The presign links to videos are secure as they require user's login and expire in
5 minutes.
- Eufy's products are a closed-loop ecosystem. We don't think users have the
scenario to use it in third-party media players, so there is no authentication of
the link after login. We think it is safe enough.
- the vast majority of users only use mobile apps to view videos which are using
encrypted end-to-end(P2P) protocol, which do not have the concern above.

Dong Cheng <g739c18e>
2022-11-30T13:58:17.0000000Z
Good

Dong Cheng <g739c18e>
2022-11-30T13:58:22.0000000Z
It really should be added

John Ding <152511013>
2022-11-30T14:10:28.0000000Z

- The presigned links to videos are secure as they require user's login and expire
in 5 minutes.
     Case: 1:22-cv-07174 Document #: 107-3 Filed: 06/11/25 Page 9 of 9 PageID #:894



- Eufy's products are closed-loop ecosystem. We think users don't have the scenario
to use it in third-party media players, so there is no authentication of the link
after login. We think it is safe enough.
- The link is now encrypted and we will fix the third-party media player concern.
- The vast majority of users only use mobile apps to view videos which are using
encrypted end-to-end(P2P) protocol, which do not have the concern above.

John Ding <152511013>
2022-11-30T14:10:39.0000000Z
@Dong Cheng take another look
